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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
v.                                                     CASE NO. 3:13-00097-03-SHARP

RASHAD WOODSIDE,

              Defendant.              /

     UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE “POSITION OF THE
           DEFENDANT WITH RESPECT TO SENTENCING FACTORS”

       Defendant, Rashad Woodside, by and through undersigned counsel, moves for an Order

of this Court granting his Unopposed Motion To Extend Deadline To File “Position Of The

Defendant With Respect To Sentencing Factors,” and requests that Defendant have until

Monday, February 23, 2015, or other time allotted by the court, to file said document. In support

thereof, Mr. Woodside states the following:

       1.   Pursuant to this Court’s Scheduling Order, “Position of the Defendant with Respect

            to Sentencing Factors” is due today, February 20, 2015.

       2.   The defendant’s Presentence Investigation Report (“PSR”) was prepared after the

            defendant pled guilty to the Indictment.

       3.   Undersigned has been in constant contact with AUSA Brent Hannafan and USPO

            Amanda Winfree in an attempt to resolve any factual disputes contained within the

            PSR.

       4.   USPO Winfree informed counsel that he would receive the Revised PSR and

            Addendum by Tuesday, February 17, 2015, so that counsel would have time to

            finalize his position on sentencing.




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